B. F. STURTEVANT COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  B. F. STURTEVANT COMPANY (OF CALIFORNIA), PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.B. F. Sturtevant Co. v. CommissionerDocket Nos. 16007, 22743, 28576, 40824, 47304.United States Board of Tax Appeals26 B.T.A. 598; 1932 BTA LEXIS 1286; June 30, 1932, Promulgated *1286  1.  Good will paid in to petitioner without consideration may not be included in invested capital.  Herald Despatch Co.,4 B.T.A. 1096"&gt;4 B.T.A. 1096. 2.  The evidence is insufficient to establish the March 1, 1913, value of patents and a license under which petitioner manufactured a patented article.  3.  Petitioner held not entitled to deductions for amortization of war facilities the original cost of which was not borne by it, the only cost to petitioner, which was paid in 1919, being the residual value for peace-time purposes.  Held, further, that the claim for deductions was not timely filed.  Philip Nichols, Esq., for the petitioner.  Elden McFarland, Esq., and Arthur Clark, Esq., for the respondent.  ARUNDELL*598  These proceedings, duly consolidated for hearing, involve deficiencies in income and profits taxes as follows: PetitionerDocket No.Fiscal year ended June 30AmountB. F. Sturtevant Company227431916$1,130.2219186,519.06191995,343.40192115,121.452857619223,975.0119233,593.804082419241,389.024730419251,576.2819262,203.8819271,034.21July 1 to Dec. 31, 19272,032.15B. F. Sturtevant Company(of California)16007Year ended June 30, 19212,685.42*1287 *599  Facts relating to claimed deductions for depreciation and loss of useful patterns and drawings were stipulated and require no discussion here other than to say that the amounts allowable will be settled under Rule 50.  The remaining issues relate to (a) the March 1, 1913, value of three groups of patents owned by petitioner and the value at that date of a license under which petitioner manufactured a patented article, and (b) whether a deduction for amortization of war facilities is allowable.  FINDINGS OF FACT.  The B. F. Sturtevant Company is a Massachusetts corporation, engaged in the business of manufacturing and selling ventilating, heating, drying and conveying equipment and auxiliary apparatus employed therewith, including particularly fans and blowers.  The B. F. Sturtevant Company (of California) is a California corporation and a subsidiary of the petitioner.  The petitioner's business was founded in 1861 by B. F. Sturtevant, who conducted it as an individual enterprise under his own name until his death on April 17, 1890.  During the period from 1861 to 1890, sixty-six United States patents were issued to B. F. Sturtevant, of which thirty-four were in*1288  force at the time of his death.  Of this number, one expired in 1890, twenty-seven in 1892, four in 1893, one in 1896 and one in 1906.  The average yearly capital investment, net income, and percentage of return on the capital investment of Sturtevant's business for the four and one-half years ending June 30, 1890, were $576,578, $142,376, and 24.693 per cent, respectively.  The will of Sturtevant, admitted to probate in 1890, provided, among other things, for the transfer of his pegwood and blower business, exclusive of the real estate used by the blower business, to a corporation to be formed by his three executors and trustees, and this new corporation was to rent the blower business real estate.  The executors formed the petitioner corporation May 14, 1890, and had its authorized capital stock of 5,000 shares, issued to them in equal amounts.  They subsequently transferred the stock to themselves as trustees for the benefit of the residuary legatees under Sturtevant's will.  The certificate filed by the petitioner with the secretary of state shows that the capital stock had been issued for the conveyance to it of cash and property of a value of $500,000.  The figure did not*1289  include any amount for good will.  The assets conveyed to the petitioner were entered on its books as of July 1, 1890, in the amount of $610,208.51, the excess of $110,208.51 over the capital stock being credited to surplus.  No opening entry was made for good will.  *600  At the time the petitioner was formed the laws of Massachusetts did not permit capital stock to be issued for good will, trade names, or patents.  The patents, trade names and good will of the B. F. Sturtevant business were not transferred to the petitioner for stock, but were assigned to it by the trustees under Sturtevant's will without payment of any consideration therefor and were thereafter used and enjoyed by it.  The petitioner has carried on the business of B. F. Sturtevant continuously to the present time.  The average yearly capital and surplus, and net income of the petitioner for the period 1890 to 1901, inclusive, were $830,427.79 and $282,891.90, respectively.  In 1900 a United States patent was issued to one Davidson covering an improved type of fan, which was smaller and lighter, had a greater number of blades and was capable of being driven at higher speeds than the old paddle wheel type*1290  then being manufactured by petitioner.  The Davidson patent was acquired by the Sirocco Engineering Company, which proceeded to manufacture and market the new type of fans.  About the time the Sirocco Company's fans came on the market, rotary power supplied by electric motors and turbines began to be applied to fans, making higher speeds practicable.  At this time there was also a demand for a lighter and smaller fan than the paddle wheel.  About 1903, with the advent of these improvements, the petitioner's business began to decrease, and it then adopted the policy of acquiring patents on new devices which were related to the fan business.  In 1908 it purchased from R. H. Hall his rights, including the right of manufacture, in United States patent No. 860,465, issued July 16, 1907, covering multivane fans.  No fans had been manufactured under the patent at that time.  In 1910 it purchased from Ralph Hancock, the patentee, his remaining interest in the patent.  Thereafter the petitioner held the patent until its expiration.  In 1908 the Sirocco Company brought suit against the petitioner for infringement, claiming that the Hancock patent, above described, infringed the Davidson*1291  patent.  This suit was pending on March 1, 1913, and was decided by the District Court in favor of the Sirocco Company in October, 1913.  On appeal the Circuit Court, in April, 1916, reversed the District Court and held the Davidson patent invalid by reason of a prior French patent.  The Circuit Court further held that the Hancock patent did not infringe the Davidson patent.  The expense incurred by the petitioner prior to March 1, 1913, in acquiring, developing and establishing its right to use the Hancock patent amounted to $74,558.99, of which $7,800 represents the purchase price, $2,250 development costs, $51,290.24 counsel fees in the infringement suit brought by the Sirocco Engineering Company, *601  $7,168.75 a fee paid in the preparation of the case, and $6,050 the cost of models and tests.  The business of petitioner in multivane fans was well established by March 1, 1913.  Prior thereto the United States Navy Department changed its ventilation specifications to require fans of the multivane construction.  After the final disposition of the infringement suit brought by the Sirocco Engineering Company, petitioner did about 70 per cent of the multivane type of fan*1292  business.  The petitioner on March 1, 1913, owned seven patents covering a device, known as a fuel economizer, for conserving heat from gases escaping from consumed fuel.  Of these patents, four were acquired in 1907 when petitioner took over the assets of C. H. Gifford &amp; Company, then a selling agent of petitioner.  The other three were acquired by E. B. Freeman, present vice president of petitioner, and assigned to petitioner.  The average remaining life of the patents on March 1, 1913, was nine years, ten months and four days.  A fuel economizer consists of pipes and headers.  It is placed in the flue leading from the furnace of a boiler to the smoke stack to heat feed water for the boiler.  They have been in use since about 1873.  The most important patent of those acquired by petitioner from C. H. Gifford &amp; Company, known as the Burpee patent, was one covering the placing of the pipes in staggered, instead of straight, rows, which arrangement increased the efficiency of the device about 10 per cent.  One of the four fuel economizer patents acquired from C. H. Gifford &amp; Company was a device for keeping the fuel economizer pipes continuously free from soot.  Other fuel economizers*1293  were equipped with soot scraping devices, but they were not so efficient in operation.  Another of the patents covered tapered metal-to-metal joints in the economizers.  This eliminated the need for using gaskets between the pipes and headers used in other fuel economizers.  It was very difficult to prevent the gaskets from leaking.  A leaky gasket joint requires the shutting down of the boiler while the leak is being repaired.  The petitioner during all of the taxable years manufactured so-called slow-speed fans under three patents issued to William E. Allington.  They were used for conveying materials such as sawdust, sugar, coal, shavings and blocks of wood.  The average remaining life of the patents on March 1, 1913, was 10 years, 11 months and 26 days.  By an agreement dated June 16, 1909, petitioner acquired the rights of the Allington &amp; Curtis Manufacturing Company as licensee under two of the slow-speed fan patents, and on July 20, 1911, it acquired *602  from the same source an exclusive license to use all three patents during the remainder of their lives.  There were no royalty requirements.  Both agreements provided for their termination by either party on six*1294  months' written notice.  The licensor stated in writing, however, that its intention was that petitioner should have the exclusive license under patents "so long as our various agreements dated July 20, 1911, remain in force." The instruments referred to are agreements appointing the Allington &amp; Curtis Manufacturing Company sole selling agent of petitioner in certain specified territory.  Petitioner agreed to use the licensor's patented dust collector on certain types of work.  Petitioner paid a royalty on dust collectors manufactured by it.  In about 1903 the business of petitioner in manufacturing small reciprocating engines for use in driving its fans began to decrease because of the fact that turbines had come into existence and were supplanting reciprocating engines.  To protect its interests petitioner decided to go into the business of manufacturing turbines for driving its own apparatus.  The Terry Steam Turbine Company was already established in the turbine field.  On March 1, 1913, the petitioner owned five patents for turbine engines, suitable for operating fans, blowers and similar apparatus manufactured by it.  The average remaining life of the patents on March 1, 1913, was*1295  fourteen years, five months and five days.  All of these patents were the invention of O. H. Bentley.  Four of them were assigned to petitioner on July 3, 1911, for $3,000, a contract of employment for three years at $2,000 per year, and a commission on all turbines manufactured under the patents.  The fifth patent, issued October 29, 1912, was assigned by Bentley in June, 1912, when the patent was applied for.  Bentley had entered the employ of petitioner in December, 1910, and became engineer and manager of its turbine department in February, 1911.  The amount paid by petitioner for acquiring and developing the Bentley turbines up to March 1, 1913, was $25,000.  The first patent issued to Bentley had as one of its important features a redirecting or supplementary bucket ahead of the turbine nozzle.  The fifth patent had additional buckets arranged diagonally so that the secondary steam was delivered ahead and also back of the nozzle.  After Bentley assigned the fifth patent to petitioner the Terry Steam Turbine Company brought suit against petitioner, claiming Bentley's first patent was an infringement of its patent.  The plaintiff prevailed in the suit and thereafter petitioner*1296  manufactured turbines with the diagonally arranged buckets only.  The elimination of the other buckets did not decrease the efficiency of the *603  turbines except at very low or extremely high speeds.  On March 1, 1913, turbines were being manufactured by petitioner both with and without the supplementary bucket.  Petitioner's average capital and surplus in the years 1909 to 1912, inclusive, were $2,517,631.86 and its average earnings in the same period were $233,124.49.  By an agreement entered into in October, 1917, with the United States Navy Department, petitioner made certain additions to its plant and equipment required for the production and early delivery of 510 forced draft turbo blowers for destroyers for the United States Navy.  A portion of the cost of the additions was advanced by the Navy Department.  The agreement provided that upon completion of the blowers an appraisal would be made of the value to petitioner at that time of the extension and improvements of the plant and that it would reimburse the Government in an amount equal to the appraisal value thereof.  All of the facilities with respect to which amortization is now claimed were installed after*1297  October 28, 1917, and before March 3, 1919, and were installed for the production of articles contributing to the prosecution of the war.  Petitioner's gross sales of turbines in 1916 were slightly over $400,000.  In 1917, as a result of the requirements of naval construction, the turbine sales were over $2,000,000, and in almost all instances the earliest possible delivery was required.  The last shipment under the Navy order for 510 blowers was made in March, 1919.  Thereafter an appraisal and award was made, under which petitioner, in 1919, paid the United States the sum of $77,000.  The cost of the improvements was $137,408.54.  Thereafter in September, 1919, the United States gave petitioner a bill of sale, dated August 8, 1919, for the improvements.  The valuation of $77,000 was based upon the expectation of further use of the facilities.  It then had orders and expected additional orders for blowers in the manufacture of which it would require the facilities taken over.  In 1919 petitioner had orders amounting to about $1,300,000 from the Government for turbines requiring the use of this equipment.  In 1921 orders amounting to over $400,000 were canceled.  Petitioner and*1298  its subsidiaries filed separate returns for the fiscal years ended June 30, 1918, and June 30, 1919.  The Sturtevant Aeroplane Company, one of the subsidiaries, claimed a deduction of $44,197.89 for amortization of war facilities in its 1918 return.  No deduction was taken for the fiscal year ended June 30, 1919.  Petitioner filed amended returns on April 1, 1922, for the fiscal years ending June 30, 1918, and June 30, 1919, consolidating the *604  returns of itself and its subsidiaries.  In each of these returns petitioner claimed a deduction of $20,923.50 for amortization of war facilities, based on the assets acquired by the Sturtevant Aeroplane Company, all of the stock of which was owned by petitioner's principal stockholder.  The amortization claim made by petitioner in the consolidated return was investigated and on May 8, 1923, recommendation was made that it be disallowed.  On March 27, 1924, petitioner withdrew the claim and expressed its intention to file a corrected return.  On February 4, 1925, petitioner filed a brief with respondent, in which it set forth in detail its contention that the cost of the facilities constructed in 1917 and 1918 to fulfill the*1299  productive demands of the Navy Department contracts for special type turbo engines should be allowed as a deduction, either as an operating expense, loss of useful value, or amortization.  The contention was repeated in a second brief, dated February 21, 1925, filed with the solicitor of internal revenue.  This claim, which is the one in controversy here, is not related to the claim made by the Sturtevant Aeroplane Company.  The original cost of the facilities on which amortization is claimed, the amount paid by petitioner under the Navy Department award, the residual value of the property on March 3, 1924, and the amount of amortization claimed, are as follows: ItemCostAmount paidResidualAmortizationvalue claimed claimedMachine tools$45,197.39$27,404.39$15,942.78$11,461.61Tools, jigs, and fixtures4,309.022,548.00200.002,348.00Changes and additions topower plant54,977.2041,233.004,371.0036,862.00Total104,483.6171,185.3920,513.7850,671.61OPINION.  ARUNDELL: We have no doubt that the individual business of B. F. Sturtevant had a valuable good will at the time of its transfer to petitioner. *1300  But where such an intangible asset is acquired, as here conceded, without a payment of stock or other consideration, may all or any part of its value be included in invested capital?  The question was fully considered in Herald-Despatch Co.,4 B.T.A. 1096"&gt;4 B.T.A. 1096, and the conclusion reached that good will acquired under such circumstances may not be included in invested capital as a paid-in surplus.  There has been no departure from this rule.  Stephens-Adamson Manufacturing Co.,16 B.T.A. 41"&gt;16 B.T.A. 41, and Concrete Engineering Co.,19 B.T.A. 212"&gt;19 B.T.A. 212. The courts have adopted the same principle.  *605 Daily Pantagraph v. United States, 37 Fed.(2d) 783; 68 Ct.Cls. 251; Colorado Continental Lumber Co. v. United States, 42 Fed.(2d) 33; 70 Ct.Cls. 413; Baker &amp; Taylor Co. v. United States, 26 Fed.(2d) 187; certiorari denied, 278 U.S. 615"&gt;278 U.S. 615; LaFayette-South Side Bank v. Commissioner, 33 Fed.(2d) 646, affirming *1301 7 B.T.A. 1307"&gt;7 B.T.A. 1307. This issue is decided in favor of respondent.  The major issue involves the value at March 1, 1913, for exhaustion purposes of patents and licenses to use patents employed by petitioner in the taxable years in the production of some of its products.  Considerable evidence was submitted in the form of testimony, sales charts, earnings, etc., and many facts, including the remaining life of the patents at the basic date, were stipulated.  The parties differ considerably in their contentions as to the value of the patents.  Of the fifty-nine patents in force and use by petitioner on March 1, 1913, sixteen, divided into four groups classified as multivane fan patents, fuel economizer patents, slow-speed fan licenses, and turbine patents, are the subject of valuation.  The petitioner is contending for a valuation of $1,175,000 for the four groups of patents.  The respondent has allowed depreciation on a value of about $100,000 based upon costs of purchase and development, and asks that his allowance be sustained.  In support of its claimed valuations petitioner introduced opinion evidence and a great mass of statistical data, the latter being designed to show*1302  the earnings attributable to patented articles.  In the absence of actual sales of property, evidence of this sort is of aid in determining what a willing buyer might reasonably be expected to pay.  We do not understand, however, that either opinion evidence or a calculation based on conjectural earnings are conclusively determinative of value.  Tracy v. Commissioner, 53 Fed.(2d) 575; Uncasville Manufacturing Co. v. Commissioner, 55 Fed.(2d) 893; Reinecke v. Spalding,280 U.S. 227"&gt;280 U.S. 227. It is our right to determine the weight to be given to the evidence upon which either party relies in the light of other facts developed in the case.  Anchor Co. v. Commissioner, 42 Fed.(2d) 99. The petitioner here is undoubtedly confronted with a difficult case to prove.  It manufactured a variety of devices under a number of patents, and in addition it apparently had a substantial good will, so that even if its earnings were larger than would ordinarily be attributable to tangibles, it is no easy matter to segregate the earnings and allocate so much to this or that particular intangible.  Petitioner has attempted to*1303  segregate the profits on the patented articles and those on the nonpatented articles for the 5 1/2-year period prior to 1913 and to fix a value for the patents by capitalizing as income attributable to the patents the amount by which the profit on each group of patented articles is claimed to exceed the profit which *606  would have been derived from an equal volume of gross sales if the percentage of profit to gross sales were no greater than in the case of nonpatented articles.  Assuming that this method might be of aid in fixing values under some conditions, in this particular case we are unable to accept the result reached, because of the obvious lack of accuracy in the basic figures.  Petitioner's records for the period before 1913 were not sufficiently detailed to permit of a direct and accurate computation of the profits on either patented or nonpatented articles, and so it resorted to a circuitous method which was described in this way: The amount of sales of all products was determined.  From this figure the amount of sales of patented articles was deducted, giving the sales of nonpatented articles.  Next, the cost of all products was set down, from which was subtracted*1304  the cost of patented articles and the difference represented cost of nonpatented articles.  Then the profit on nonpatented articles was determined by subtracting the cost thereof from the sales, and on these figures the percentage of profit to sales was determined.  When this percentage was determined, each group of patents was taken separately, the cost of sales deducted from sales, and from that figure there was subtracted an amount computed by multiplying the sales of each group by the percentage arrived at as above described.  The resultant figure in the case of each group of patents is claimed to be the excess profit attributable to the patents.  The procedure may perhaps be more readily understood by setting out the figures submitted for one of the several years: PercentageAmountTotal sales of all products100$2,640,551.04Sales of patented articles:Multivane fans13.847365,644.69Turbines1.42837,719.53Fuel economizers7.139188,498.23Slow speed fans.96325,426.35617,288.80Difference, sales of nonpatentedarticles76.6232,023,262.24Cost of all products$2,352,975.91Cost of patented articles:Multivane fans176,456.97Turbines37,449.04Fuel economizers186,200.04Slow speed fans13,975.38414,081.43Cost of nonpatented articles1,938,895.48Profit on nonpatented articles84,366.76Percentage of profit on nonpatentarticles to sales of same4.1698Multivane fan sales$365,644.69Cost of fans176,456.97Profit189,187.72Above percentage applied to sales 4.169 X $365,644.69)15,246.65Excess due to patented article173,941.07*1305 *607  This computation showing how the claimed excess earnings on multivane fans for one year was reached is illustrative of the computation made with respect to each of the groups of patents for each of the fiscal years in the period July 1, 1907, to June 30, 1912, and the last six months of 1912.  The method above outlined is called the "primary method" by petitioner.  A further computation was made on each group of patents by deducting from the profits 8 per cent of the tangible assets used in the manufacture of each article, the amount of the assets so used being determined by applying to the total tangibles the percentage representing the ratio of sales of patented articles to total sales.  This method is called the "secondary method." The resultant figures under each method were capitalized by applying a formula of 10 per cent for income and 4 per cent for sinking fund.  Under each method the result is practically the same.  These results, petitioner says, establish the values of the several groups of patents.  The first figure used, sales of all products, is taken from petitioner's books.  This figure, it appears, includes outside erection costs.  The amount of such*1306  costs is given for only one year, the year ended June 30, 1908, when they amounted to $253,535.91, or something over 12 per cent of the figure listed as total sales for that year.  The amount of erection costs was not allocated to both patented and nonpatented articles in the segregation subsequently made, but was all carried into the figure claimed to represent sales of nonpatented articles.  The second item in the computation is called sale of patented articles, i.e., multivane fans, turbines, fuel economizers, and slow-speed fans.  These figures were compiled from sales orders in petitioner's files.  The tabulations as submitted to us contain numerous omissions of prices.  In these instances, it is explained, no prices were shown on the orders.  Some idea of the extent of the omissions may be gained from the following examples.  On one page listing twenty-eight sales of multivane fans the sale price is omitted in twelve instances; one sheet of nineteen sales has ten omissions; another listing fifty-seven sales contains no sale price for thirty-eight items.  *608  There are thirteen sheets listing sales of turbines and of these only four are complete.  Greater accuracy was*1307  possible with sales of fuel economizers.  Out of about two hundred sales listed, the selling price is disclosed in all but four instances.  There are thirteen sheets listing sales of slow-speed fans and none of these is complete.  It is impossible to state accurately what percentage of total sales is omitted, but from the list prices contained in the tabulations it would appear that the omissions represent substantial portions of total amounts.  For example, in the fiscal year 1909 the list prices of items omitted amount to over $49,000, against sales recorded of $179,636.64; for the fiscal year 1912 list prices omitted are over $98,000 and sales recorded amount to $617,288.80.  Moreover, there is such a wide variation of sales prices shown in the case of slow-speed fans - which is the only group susceptible of being readily checked in this respect - that we are reluctant to accept the figures as accurate.  For example, the sale prices of the Number 40 fan varies from $58.50 to $150.  Between these two extremes are prices of $67.50, $76.50, $90 and $99.  In each instance the same amount, $49.55, is listed as cost.  The Number 50 fans, according to the sales sheets, were sold at*1308  prices ranging all the way from $73.50 to $180, with a cost of $68.27.  The following are a few of the various sales prices given for the Number 70 fans: $31.34, $73.81, $227.50, $276.25, $363, and $552.50.  Against each of these a cost of $116.75 is listed.  A possible explanation of the above extreme variations may lie in the fact that in many cases petitioner sold a combination of its products as a unit; for instance, a fan and a turbine to operate it were sold to a customer and installed as one article rather than as component parts.  In at least some of such cases it appears that petitioner recorded one article as sold at a profit and another at a loss.  A few examples will suffice to illustrate the method.  Under order No. 171690 it sold four multivane fans and four turbines.  The selling price of the fans is given as $876 and turbines, $1,377, against which costs of $472.72 and $1,775.80, respectively, are shown.  This reflects a gain of $403.28 on the fans and a loss of $390.80 on the turbines.  Computing the sale as that of a unit, the actual profit was but $4.48.  Order No. 228951, obtained August 9, 1912, was for one multivane fan and one turbine.  A profit of $308.87*1309  is shown for the fan and a loss of $36 for the turbine.  A gain of $138.82 is shown under order No. 230200 for the sale of two multivane fans and a loss of $343.50 on the two turbines sold with the fans, resulting in a loss of $204.68 on the two units.  It might be argued that this method would not affect the final result when the patents are considered as a whole.  The difficulty is that we do not know that *609  the practice was confined to patented articles.  If patented and nonpatented articles were sold as units, an arbitrary allocation as above illustrated might seriously distort the profits on either group.  An example of this occurs in the last six months of the year 1912, in which the alleged profits from the several groups of patents are set forth as follows: Multivane fans$103,307.68Turbines579.18Fuel economizers19,491.76Slow-speed fans7,078.42Total130,457.04In this period it is claimed that the net earnings were only $82,679.66, and the difference of $47,777.38 is said to be a loss sustained on nonpatented articles.  According to petitioner's figures for this period sales of patented articles aggregated only $390,263.20, as against*1310  sales of nonpatented articles of $1,017,847.45.  Even conceding that the patented articles gave a somewhat higher margin of profit, it is difficult to believe that there was such a wide variation as petitioner's figures purport to show.  It is also to be remembered that the items omitted from the tabulations would, if included, further increase the alleged profit on patented articles and increase the claimed loss on the nonpatented items.  To accept petitioner's figures, we would have to believe that the greater part of its products were deliberately sold at a loss.  Petitioner had no accurate cost records in the period prior to 1913.  The cost figures used in the computation before us were made up from a few figures compiled by the cost department from time to time and forwarded to the general manager.  The method of compiling the figures was to add 10 per cent to cost of material to cover handling and waste, 100 per cent to labor cost to cover shop administration, factory overhead, depreciation, and nonproductive labor and supplies, and then add to the sum of these figures 15 per cent to cover selling costs.  The witness who prepared the costs testified that he checked the accuracy*1311  of the method and that for the 5 1/2-year period prior to 1913 there was only a difference of about $19,000 on a total of about $11,000,000.  But no satisfactory explanation was given of how the check was made.  He was asked how he applied the check and he replied that he took the materials purchased during the year, added 10 per cent, then took productive labor and added 100 per cent, and added 15 per cent to the total.  We think that we are entitled to a better explanantion than this before being asked to accept a result in which the possibility of error is so manifest.  *610  It also appears that some of petitioner's so-called nonpatented articles were not such in fact.  In each of the years 1908 to 1913 petitioner owned the following numbers of patents: 1908, 21; 1909, 25; 1910, 28; 1911, 35; 1912, 46; 1913, 59.  Only one witness, Ernest P. Freeman, was questioned as to the patents other than those sought to be valued here.  Freeman has been connected with petitioner since 1903 and has been general manager and vice president since 1909.  At fist he said he did not know of any other patents, and later he mentioned several others, but said they were not regarded as of importance. *1312  Inasmuch as one of the basic factors in petitioner's computation is the segregation of its products into the two classes, patented and nonpatented, we think it was incumbent on petitioner to furnish at least enough information to permit us to form some idea as to the importance of the other patents.  On the meagre evidence on this phase of the case we do not feel that we can accept petitioner's classification of its products into patented and nonpatented groups.  Under petitioner's so-called secondary method, as explained above, an attempt was made to allocate to the patented articles an 8 per cent return on the tangibles used in their manufacture and then to capitalize the balance of the earnings from such articles.  It does not appear clearly just what was included in the term "net tangible assets" upon which the computation is based.  From the testimony of the accountant who made the computation we gather that only plant and physical equipment were included and no consideration was given to other assets such as cash, accounts receivable, and inventory.  Another objection to the computation is the manner in which the portion of tangibles allocated to patented articles was determined. *1313  This was found by applying to the total of the so-called tangibles the percentage that the sales of patented articles bore to total sales.  We have no way of determining whether the resultant figures are even approximately correct.  Several of petitioner's witnesses have been connected with it for a long time.  Eugene N. Foss, petitioner's president, has been with it and its predecessor business for fifty years.  Ernest P. Freeman, above mentioned, has been associated with petitioner since 1903; Eugene B. Williams, since 1905; Merton S. Leonard, since 1901; and Herbert M. Fish, since 1902.  All of these men held important positions with petitioner.  It does seem to us that, with the testimony of these witnesses available, it would have been possible for petitioner to have produced more accurate evidence as to the extent assets were used in the manufacture of patented articles if the patents really payed as important a part in the business as we are not asked to believe.  It is seldom that a taxpayer comes before us with such an array of witnesses *611  who have grown up with the business as in this case.  Yet with these witnesses available we are asked to accept as a basis for*1314  determining values a set of figures which throughout are compiled in an arbitrary method.  On the meagre evidence that we have concerning petitioner's tangibles, it appears that the 8 per cent return used is too low.  Freeman's testimony is that in a business such as that of petitioner's it is customary to figure a 10 per cent return.  Freeman further testified that it was petitioner's practice to charge off many items that other companies would capitalize, and so even if the figures used by the accountant in making up the computation before us represented book assets, the actual assets used in the business very probably had a considerably greater value.  The method used is also subject to the criticism that in figuring the percentage of tangibles the sales figure used as a basis is inaccurate because of the omissions in the tabulations of patented sales which we referred to above.  We accordingly conclude that the formula worked out by petitioner can not be accepted as establishing values at March 1, 1913.  We might further point out that even if the figures purporting to show earnings in excess of a fair return on tangibles were accurate, we still would not be able to say that*1315  the excess should be attributed entirely to patents.  Petitioner's witnesses, Foss, Freeman, and Orrok, were unanimous in their testimony that petitioner had a valuable good will.  Several of petitioner's witnesses expressed opinions of the value of the patents.  These, for the most part, are based on calculations above discussed and which, as we have pointed out, contain too many inaccuracies and arbitrary premises to be of aid in fixing any value.  For example, Freeman, in giving his opinion on the multivane fan patent, said it was based on a showing of earnings attributable to that patent of over $100,000 a year.  He admitted that if the "figures are wrong as regards that point, my testimony is wrong, but I thoroughly believe it is right * * *." Freeman was further of the opinion that the petitioner's net tangible assets amounted to between three and four millions of dollars prior to 1913, on which it ought to receive a return of 10 per cent before attributing anything to intangibles.  As petitioner's average earnings were only a little over $200,000, it is clear that Freeman's opinion lacks a reliable basis.  When asked whether he thought that the patent could have been sold to*1316  a prospective purchaser at the figure he named, Freeman said that there were one or two competitors that would have paid the price "with our figures before them." As to the other items sought to be valued here, Freeman testified that he fixed their value along the same general line.  *612  Petitioner's other witnesses, Orrok and Williams, who gave opinions on the multivane fan patent, based their conclusions largely on the sales and earnings figures above discussed.  Freeman was the only witness called to express an opinion as to the values of the fuel economizer patents.  On direct examination his testimony was that they were worth "appreciably more than the $178,000 that the formula shows." Upon being asked on crossexamination as to the value he had expressed, he said that it was $115,000 or $120,000.  When it came to valuing turbine patents petitioner did not rely on its formula applied to the other items, apparently for the reason that the figures made up show losses in all years except the period July 1, 1911, to December 31, 1912, in which profits of only $849.67 are shown.  According to the tabulations in evidence, turbines were made and sold during all of the period*1317  from 1907 to 1911, but at a loss.  This situation probably may be accounted for by petitioner's method, as explained above, of arbitrarily assigning large profits to fans where fans and turbines were sold as units, and little or no profit to the turbines.  Orrok's opinion of the value of the turbine patents was based on purely hypothetical factors.  He estimated the amount of horse power that might be developed by turbines, and that petitioner might expect to receive a certain portion of the turbine business.  On that basis he estimated the amount of profit at the rate of $2 per horse power after allowing for an 8 per cent return on tangibles.  The record does not show that Orrok had any idea of the amount of tangibles that petitioner had or might be required to have in order to produce the estimated horse power.  Difference in turbines made by two concerns and difference in management might easily result in a wide variation in this factor.  Furthermore, the evidence shows that in fixing his value Orrok was not aware of the infringement suit of the Terry Company that was pending on March 1, 1913, and gave it no consideration.  At March 1, 1913, petitioner's nearest comparable competitor*1318  in the turbine business was the Terry Steam Turbine Company, which manufactured nothing but turbines.  In 1913 that company's gross sales were $410,000 and net income was $33,000.  We do not consider that these facts furnish any aid in determining the question here.  If petitioner's business in turbines was expected to amount to the same valume as that of the Terry Company it would be at some unknown time in the future after it had succeeded in meeting the competition of the several companies which the evidence shows were then in the field, and after it had built up plant and equipment of *613  an unknown amount.  We are not informed as to the amount of the Terry Company's tangibles, nor as to whether it earned anything beyond a reasonable return thereon.  Bentley, the inventor of petitioner's turbines, was of the opinion that the patents were very valuable "to the Sturtevant Company." Our problem is to determine fair market value and Bentley's testimony does not aid in establishing this.  Moreover, it is shown that prior to the sale of his patents to the petitioner, Bentley had offered them to other concerns and his best offer was $3,000 from the General Electric Company, *1319  which was then in the turbine business and presumably was in a position to know the value of turbine patents.  It is difficult to believe that patents purchased for the sum petitioner paid in 1911 would increase so tremendously in value by 1913, as claimed here, when operations under them had shown a profit of only about $800 (using petitioner's figures) and had resulted in an infringement suit.  Petitioner did not own the three patents relating to slow-speed fans, but manufactured the fans under license from the owner.  The license was acquired without cash consideration or any agreement to pay royalties.  The only consideration was that petitioner agreed to use on certain types of work a dust collector on which the licensor held the patents and to pay a royalty therefor.  The license was terminable by either party on six months notice.  There is in evidence a memorandum signed by the licensor stating that it intended the petitioner should have an exclusive license as long as the conditions of previous agreements were performed.  This, however, does not abrogate the cancellation provisions of the license agreement.  Under these circumstances it would require a very clear showing*1320  to establish that the license had any substantial value.  The only evidence directed to proof of value consists of figures based on the alleged earnings, which we are unable to accept.  Considering all the evidence, we are of the opinion that petitioner has failed to establish the fair market value at March 1, 1913, of its several patents and the license under which it manufactured the slow-speed fans, and we are unable to find that it is entitled to use as a basis for exhaustion any greater amount than that used by the respondent.  In reaching this conclusion we have not overlooked or failed to consider the testimony of the several witnesses giving the history of the development of the several patented articles.  We have given careful consideration to that evidence, but, for reasons above given, we are unable to find that it supports the values claimed or that it gives us any sound basis for fixing any other values.  *614 Claimed Amortization Deduction.Most of the facts concerning the claimed deduction for amortization of war facilities were stipulated.  The facts as stipulated appear somewhat complicated, but as we understand them they are as follows: One of petitioner's*1321  subsidiaries, the Aeroplane Company, in its separate return originally claimed an amortization deduction for the year ended June 30, 1918.  Later, on April 1, 1922, petitioner filed consolidated returns on behalf of itself and subsidiaries for the years ended June 30, 1918 and 1919, in both of which amortization claims were made on account of assets of the Aeroplane Company.  The claims made in the consolidated returns were recommended for disallowance by the respondent's office, whereupon, on March 27, 1924, petitioner withdrew the claims.  In February, 1925, petitioner filed two briefs, one with the respondent and one with the solicitor of internal revenue, claiming amortization deductions which are in controversy here, and which are not related to the claims previously made on account of the Aeroplane Company's facilities.  The facilities with respect to which claim is now made were installed between October 28, 1917, and March 3, 1919, for the production of articles contributing to the prosecution of the war.  It is stipulated that the Navy Department or its agent "advanced a portion of the cost of approved additions to [petitioner's] plant and equipment." The cost of the improvements*1322  was $137,408.54.  After completion in 1919 of petitioner's war time contract with the Navy Department, it paid the United States $77,000 and received a bill of sale for the improvements.  The $77,000 paid by petitioner represented the value of the improvements in the hight of the use to which petitioner then expected to put them, namely, the manufacture of additional blowers for the Navy Department.  Because of the subsequent curtailment of armaments by the United States, the petitioner did not receive the further orders it expected.  The parties argue various questions under this issue, such as the effect of the 1919 bill of sale, and the effect of the withdrawal of the first claims filed.  In the view we take these questions are immaterial.  Section 234(a)(8) of the Revenue Act of 1918 provides that in the case of the construction of facilities on or after April 6, 1917, for the production of articles contributing to the prosecution of the war then in progress, there should be allowed a "deduction for the amortization of such part of the cost of such facilitioes * * * as has been borne by the taxpayer * * *." It is clear in this case that the $77,000 cost to the petitioner was*1323  not the cost of war-time facilities as such, but was rather the cost to it of *615  facilities which it proposed to use for manufacturing post-war articles.  If petitioner's theory were sound, it would enable taxpayers to secure amortization deductions for war-time facilities in which they had no interest during the war but which were acquired thereafter, even after peace was formally concluded.  It seems to us that it does not matter that the facilities were erected on petitioner's land and that technically they may have become a part of the realty, for the fact remains that the petitioner had not borne the cost of such facilities while they were used for war-time purposes.  We accordingly hold that petitioner is not entitled to the deduction claimed.  Petitioner's claim for amortization deductions must be denied on the further ground that it was not timely filed.  Section 1209 of the Revenue Act of 1926 provides that deductions for amortization of war facilities may be allowed "if claim therefor was made before June 15, 1924." The stipulated facts here show that claim with respect to the facilities here involved was first made on February 4, 1925.  The claim that had theretofore*1324  been filed and withdrawn related to distinctly different facilities.  While we have countenanced amendments to claims, United States Refractories Corporation,9 B.T.A. 671"&gt;9 B.T.A. 671, and have held that a member of an affiliated group may claim amortization deductions with respect to facilities constructed by another corporation within the group, G. M. Standifer Construction Corporation,4 B.T.A. 525"&gt;4 B.T.A. 525, 550, none of the decided cases go as far as to say that a claim filed by one company and withdrawn will support a claim filed after the statutory period by another with respect to entirely different facilities. Decision will be entered under Rule 50.